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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA
                             MIAMI DIVISION
                       CASE NO. 13-20552-CR-GRAHAM

  UNITED STATES OF AMERICA

                  Plaintiff,
  vs.

  MANUEL A. ACOSTA AREVALO,

                Defendant.
  ________________________/


         ORDER ADOPTING MAGISTRATE'S REPORT AND RECOMMENDATION

         THIS CAUSE came before the Court upon the Defendant’s
  request to enter a plea of guilty before a Magistrate Judge.
         THE MATTER was referred to Magistrate Judge Jonathan
  Goodman, on April 15, 2013. A Report and Recommendation filed on
  April 23, 2013 Recommended that the Defendant’s plea of guilty be
  accepted. The Defendant and the Government were afforded the
  opportunity to file objections to the Report and Recommendation,
  however, none were filed. The Court has conducted a de novo
  review of the entire file. Accordingly, it is
         ORDERED AND ADJUDGED that the Report and Recommendation of
  United States Magistrate Judge Jonathan Goodman, is hereby
  Adopted and Approved in its entirety. The Defendant is adjudged
  guilty as to Count Two of the Second Superseding Indictment.


        DONE AND ORDERED in Chambers at Miami, Florida, this 20th
  day of May, 2013.


                                       ____________________________
                                       DONALD L. GRAHAM
                                       UNITED STATES DISTRICT JUDGE
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  Copied: Magistrate Judge Goodman
          Andrea Hoffman, AUSA
          Robert E. Abreu, Esq.
